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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  THE SATANIC TEMPLE,                       )
                                            )
                    Plaintiff,              )
                                            )
           v.                               ) Case No. 1:22-cv-01859-JMS-MG
                                            )
  TODD ROKITA, in his capacity              )
  as Attorney General of Indiana,           )
  and RYAN MEARS, in his                    )
  capacity as Marion County                 )
  Prosecutor,                               )
                                            )
                Defendants.                 )

      PLAINTIFF’S NON-CONFIDENTIAL RESPONSE TO DEFENDANTS’ FIRST
                  SET OF INTERROGATORIES TO PLAINTIFF

        Plaintiff responds to Defendants’ First Set of Interrogatories as follows:


                                     INTERROGATORIES

     INTERROGATORY NO. 1: Identify each and every person who answered, or who was

 consulted or provided information in answering, these interrogatories, and for each such person,

 identify with specificity the information or other assistance provided in answering these

 interrogatories.

      RESPONSE: W. James Mac Naughton, who collected the information and drafted the

 answers; Erin Helian who provided information regarding TST and the TST Clinic; and Malcom

 Jarry who provided documents.




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 INTERROGATORY NO. 2: Describe in detail the nature and scope of the services provided by

 The Abortion Clinic.

      RESPONSE: The Abortion Clinic provides the services of an Advanced Practice

 Registered Nurse (“APRN”) for a virtual consultation with a patient to prescribe mifeprestone and

 misprostol (the “Abortifacients”). After reviewing the patient’s record and consulting with the

 patient, the APRN prescribes the Abortifacients to the patient for the purpose of inducing an

 abortion, provided the prescription is within the risk evaluation and mitigation strategy (“REMS”)

 guidelines established by the Food and Drug Administration (“FDA”) for mifeprestone. The

 APRN provides instructions and safety information to the patient regarding the use of the

 Abortifacients. The prescription is delivered to a third-party vendor authorized by the FDA to

 distribute Abortifacients. Delivery is by mail to a New Mexico address provided by the patient.



 INTERROGATORY NO. 3: Identify the number of persons to whom The Abortion Clinic has

 provided abortion inducing drugs, the type and quantity of such drugs provided, and the location

 where the drugs were provided during the relevant timeframe.

      RESPONSE: Plaintiff objects to this Interrogatory on the grounds it seeks information

 beyond the scope of Fed. R. Civ. Pro. 26(b)(1). Subject to this objection and without waiving it,

 the Abortion Clinic has prescribed Abortifacients to over two dozen patients since it became

 operational in February 2023.



 INTERROGATORY NO. 4: Identify each and every licensed physician employed by or

 contracted by The Abortion Clinic and in which state or states each identified physician is licensed.

      RESPONSE: None

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 INTERROGATORY NO. 5: Describe in detail the specific expenses to which the money

 referenced in paragraph 19 of the Complaint was applied.

      RESPONSE: Paying contractors employed by the Abortion Clinic, including attorneys,

 APRN’s and other support persons and the purchase of computers and telecommunications

 equipment and related services.



 INTERROGATORY NO. 6: Identify each and every person from whom you intend to solicit

 sworn testimony for use as evidence relating to or concerning the existence, identity, status, or

 factual circumstances surrounding the involuntarily pregnant women referenced in paragraph 10

 of the Complaint.

      RESPONSE: Erin Helian. See also Plaintiff’s Confidential Response to Defendants’ First

 Set of Interrogatories.




 INTERROGATORY NO. 7: Identify each and every involuntarily pregnant member of the

 Satanic Temple who resides in Indiana whom you believe provides a basis for standing in this

 matter.

      RESPONSE: Plaintiff objects to this Interrogatory on the grounds it seeks information A)

 beyond the scope of Fed. R. Civ. Pro. 26(b)(1); B) protected from disclosure by the Health

 Insurance Portability and Accountability Act of 1996 (“HIPPA”); and C) protected from

 disclosure by the Free Exercise Clause of the First Amendment.



 INTERROGATORY NO. 8: Describe in detail the process and requirements for becoming a

 member of the Satanic Temple.
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       RESPONSE: See attached Exhibit A.


June 8, 2023
                                        W. James Mac Naughton
                                        W. James Mac Naughton, Esq.
                                        7 Fredon Marksboro Road
                                        Newton, NJ 07860
                                        wjm@wjmesq.com
                                        Attorney for Plaintiff The Satanic Temple



Signature of Answering Party: __________________
                                Erin Helian, Executive Director




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                                 EXHIBIT A




                                                                 EXHIBIT B
Join The Satanic Temple - Satanic temple membership - TST                                                                                                 https://thesatanictemple.com/pages/join-us
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                                                                                                                                                                                                    0
                                                               Donate To TST Health         Latest News     Learn         Advocacy          Shop          Visit Salem      Join     DONATE   




                                                        JOIN
                                               THE SATANIC TEMPLE
         The Benefits Of Joining Depend On What You Want To Do With Your Membership. Joining On Our Website Will Put You On
         Our Mailing List So You Can Stay Up-To-Date On Our Activities And Campaigns. If You Want Your Membership To Be Even
          More Rewarding, Consider Becoming Active In A Congregation Or Contributing To The Mission Of The Satanic Temple In
                                                            Other Ways.



                                                                Find A Congregation


                                                                 Become A Member




                                                                                         MEMBERSHIP

                                                                                                    Membership is open to individuals dedicated, in action and/or by identity, to the tenets
                                                                                                    of The Satanic Temple.


                                                                                                    Membership is a privilege, subject to termination for failure to uphold the spirit of The
                                                                                                    Satanic Temple and its tenets.


                                                                                                    Membership does not grant authority to act as an organizational spokesperson for The
                                                                                                    Satanic Temple.


                                                                                                    Membership is free; however, official membership cards can be purchased with a non-
                                                                                                    refundable $35 fee.




                                                                                  BECOME A MEMBER




                                    United States

                                                                                                         *International members need to fill their State/Province/Region as well.
                                 *If you select UK, please enter your country (ENG/SC/WLS/NIR) in the

                                 state field




                                                                                                                                                                          EXHIBIT B
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Join The Satanic Temple - Satanic temple membership - TST                                                                     https://thesatanictemple.com/pages/join-us
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                             If you do not see a form to submit, please disable all ad blocking software, javascript blocking software, or load the
                                           page in Chrome or Firefox. If problems still persist please SUBMIT A REQUEST HERE.




                                      ALREADY A
                                      MEMBER?

             Get Your Personalized Membership Card.

                       CHOOSE AND PERSONALIZE CARD




              SOCIAL SATAN                                Information                                 Shop Now                               News & Updates
                   LEARN                                   CONTACT US                                ALL PRODUCTS                        Sign up to get the latest Satanic

                  ADVOCACY                                   DONATE                                     APPAREL                                Temple Newsletters

                    SHOP                       DEVIL’S ADVOCATE SCHOLARSHIP                  CONTRIBUTE TO THE SATANIC

                    JOIN                                    WINNERS                                      TEMPLE

                                                         LEGAL NOTICES                         MEMBERSHIP CARDS AND
                                                  TERMS OF SERVICES                               CERTIFICATES

                                                   SHOP CUSTOMER SERVICE

                                                                                                                                                      SIGN UP



                      The Satanic Temple is the only Satanic religious organization recognized as a church by the IRS and the Federal Court System.




                                                                                                                                          EXHIBIT B
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